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           EXHIBIT 2
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                      APPENDIX B: VITA FOR PETER SIMI

                                Peter Simi: Curriculum Vitae
                                   Department of Sociology
                                     Chapman University
                            (402) 594-4817 (cell) simi@chapman.edu

                                       CURRENT POSITIONS
 2016-2019. Director, Earl Babbie Research Center, Chapman University.
 2016-present. Associate Professor, Department of Sociology, Chapman University.
 2016-present. Visiting Professor. Center for Research on Extremism, C-REX. University of Oslo.
 2016-present. Faculty Affiliate. The Center for Collaboration Science, University of Nebraska.
 2015-present. Faculty Affiliate, Center for Brain, Biology and Behavior, University of Nebraska.
 2015-2016. Director of Radicalization & Violent Groups Research, University of Nebraska.
 2009-2016. Associate Professor, School of Criminology & Criminal Justice, University of Nebraska.
 2003-2009. Assistant Professor, School of Criminology & Criminal Justice, University of Nebraska.

                                             EDUCATION
 May 2003. Ph.D. in Sociology. University of Nevada, Las Vegas. Dissertation: “Rage in the City of
        Angels: the Historical Development of the Skinhead Subculture in Los Angeles” (Chair Simon
        Gottschalk and Barbara Brents).
 June 1999. M.A. in Sociology. University of Nevada, Las Vegas. Masters Thesis: “Amerikan Dreams:
         Dialogues with White Supremacists” (Chair: Simon Gottschalk).
 May 1995. B.A. in Social Science. Washington State University: Graduated with Honors.

                                          CERTIFICATION
 April 2011. Federal Bureau of Investigation, Behavioral Science Unit. Selected and Certified as part of
         Delphi Working Group, “Radicalization, Street Gangs, and WMDs.”
 April 2010. Federal Bureau of Investigation, Behavioral Science Unit. Research and Training
         Certificate.

                                  AREAS OF SPECIALIZATION
 Violence; Social Psychology; Race/Ethnicity; Social Movements & Collective Behavior; Terrorism;
 Street & Prison Gangs; Juvenile Delinquency; and Qualitative Methods

                                           PUBLICATIONS

 Book Manuscripts

 Simi, Pete and Robert Futrell. 2010. American Swastika: Inside the White Power Movement’s Hidden
         Spaces of Hate. Lanham, MD: Rowman & Littlefield. (second edition published July, 2015)
         *CHOICE Listed as one of the “Books for Understanding Charleston,” 2015.
         *CHOICE Outstanding Academic Title of the Year, 2010.
         *Nominated for the C. Wright Mills Award, SSSP, 2011.
         *Nominated for the Charles Tilly Best Book Award, CBSM/ASA, 2011.
         *Featured in Las Vegas Review Journal, Las Vegas Sun, Omaha World Herald,
          Tucson Weekly, Tom Becka Show and Nevada Public Radio
         *Reviewed in Contemporary Sociology, Terrorism and Political Violence, Journal of Religion,
         Media, and Digital Culture, Nationalities Papers: the Journal of Nationalism and Ethnicity,
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       Michigan Sociological Review, Perspectives on Terrorism, Journal for the Study of Radicalism,
       Extremism, and Terrorism, Crime, Law, and Social Change, Publisher’s Weekly, and Library
       Journal
 Peer-Reviewed Journal Articles (*denotes graduate student at time of publication)

 Windisch, Steven, Pete Simi, Kathleen Blee, and Matthew DeMichele. Forthcoming. “Measuring the
        Extent and Nature of Adverse Childhood Experiences (ACE) among Former White Supremacists.”
        Terrorism and Political Violence. https://doi.org/10.1080/09546553.2020.1767604

 Latif, Mehr, Kathleen Blee, Matthew DeMichele, and Pete Simi. Forthcoming. “Do White Supremacist
         Women Adopt Movement Archetypes of Mother, Whore, and Fighter?” Studies in Conflict and
         Terrorism.

 Latif, Mehr, Kathy Blee, Matthew DeMichele, Pete Simi, Pete and Shayna Alexander. 2019. “Why White
         Supremacist Women Become Disillusioned, and Why They Leave.” The Sociological Quarterly,
         published online, June 27.

 Bubolz, Bryan and Pete Simi. 2019. “The Problem of Overgeneralization: The Case of Mental Health
         Problems and US Violent White Supremacists.” American Behavioral Scientist 1-17.

 Simi, Pete, Steven Windisch*, Daniel Harris*, and Gina Ligon. 2019. “Anger from Within: The Role of
         Emotions in Disengagement from Violent Extremism.” Journal of Qualitative Criminal Justice &
         Criminology 6, 3-28.

 Fahey, Susan and Pete Simi. 2019. “Pathways to Violent Extremism: A Qualitative Comparative Analysis
         of the US Far-Right.” Journal of Dynamics of Asymmetric Conflict 12:42-66.

 Windisch, Steven, Pete Simi, Kathleen Blee, and Matthew DeMichele. 2018. “Understanding the Micro-
        Situational Dynamics of White Supremacist Violence in the United States.” Perspectives in
        Terrorism, 6: 23-37.

 Latif, Mehr, Kathy Blee, Matthew DeMichele, and Pete Simi. 2018. “How Emotional Dynamics Maintain
         and Destroy White Supremacist Groups.” Humanity & Society, 42, 4:480-501.

 Simi, Pete and Steven Windisch*. 2018. “Why Radicalization Fails: Barriers to Mass Casualty
         Violence.” Terrorism and Political Violence.

 Windisch, Steven, Gina Ligon, and Pete Simi. 2017. “Organizational [Dis]trust: Comparing
        Disengagement Among Former Left-Wing and Right-Wing Violent Extremists.” Studies of
        Conflict & Terrorism. DOI: 10.1080/1057610X.2017.1404000.

 Simi, Pete, Kathy Blee, Matthew DeMichele, and Steven Windisch*. 2017. “Addicted to Hate: Identity
         Residual among Former White Supremacists.” American Sociological Review 82, 6: 1167-87.

 Blee, Kathy, Matthew DeMichele, Pete Simi, and Mehr Latif. 2017. “How Racial Violence is Provoked
         and Channeled.” Socio, December: 257-76.

 Evans, Mary, Amy Anderson, and Pete Simi. 2017. “An Examination of the Relationship Between
        Height and Delinquency.” Journal of Developmental & Life Course Criminology, 1-18.

 Windisch, Steven*, Pete Simi, Gina Scott Ligon, and Hillary McNeel*. 2016. “Disengagement from


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         Ideologically-Based and Violent Organizations: A Systematic Review of the Literature.” Journal
         for Deradicalization, 9:1-38.

 Peer-Reviewed Journal Articles Cont.

 Simi, Pete, Karyn Sporer* and Bryan Bubolz. 2016. “Narratives of Childhood Adversities and Adolescent
         Misconduct as Precursors to Violent Extremism: A Life-Course Criminological Approach.”
         Journal of Research in Crime and Delinquency, 53, 4: 536-63.

 Simi, Pete, Robert Futrell, and Bryan Bubolz. 2016. “Parenting as Protest: Identity Alignment among
         White Power Activists.” The Sociological Quarterly, 57: 491-516.

 Harris, Daniel*, Pete Simi, and Gina Ligon. 2016. “Reporting Practices for Studies Involving Interviews
         with Extremists.” Studies in Conflict and Terrorism, 39: 602-16.

 Bubolz, Bryan* and Pete Simi. 2015. “Leaving the World of Hate: Life Course Transitions and Self-
         Change.” American Behavioral Scientist, 59: 1588-1608.

 Bubolz, Bryan* and Pete Simi. 2015. “Disillusionment and Change: A Cognitive-Emotional
         Theory of Gang Exit.” Deviant Behavior: An Interdisciplinary Journal 36,4: 330-45.

 Evans, Mary*, Samantha Clinkinbeard, and Pete Simi. 2014. “Learning Disabilities, Attention-
        Deficit Hyperactivity Disorder, and Delinquency.” Deviant Behavior: An Interdisciplinary
        Journal 36 (3):200-220.

 Simi, Pete, Bryan Bubolz*, and Ann Hardman. 2013. “Military Experience, Identity Discrepancies, and
         Far Right Terrorism: An Exploratory Analysis.” Studies in Conflict and Terrorism 36(8):654-71.

 Ligon, Gina, Pete Simi, Daniel Harris*, and Mackenzie Harms*. 2013. “Putting the ‘O’ in VEOs: What
         Makes an Organization.” Dynamics of Asymmetric Conflict. (published online July 10, 2013).

 Garland, Brett and Pete Simi. 2011. “Hate Violence and the Unintentional Consequences of Civil
        Litigation.” Criminal Justice Review 36:498-512.

 Clinkinbeard, Samantha, Pete Simi, Mary Evans* and Amy Anderson. 2011. “Sleep and Delinquency:
         Does the Amount of Sleep Matter?” Journal of Youth and Adolescence 40: 916-930.

 Simi, Pete. 2010. “Why Study White Supremacist Terror?: A Research Note.” Deviant Behavior: An
         Interdisciplinary Journal 31:251-73.

 Simi, Pete and Robert Futrell. 2009. “Negotiating White Power Activist Stigma.” Social Problems 56:89-
         110. (Reprinted in Patti and Peter Adler’s Constructions of Deviance: Social Power, Context and
         Interaction. 2011. 7th edition. Wadsworth Cengage).

 Simi, Pete, Lowell Smith*, and Ann Stacey*. 2008. “From Punk Kids to Public Enemy Number One.”
         Deviant Behavior: An Interdisciplinary Journal 29,8:753-774. (Reprinted in Mark Pogrebin’s
         About Criminals. 2013. Sage Publications).

 Futrell, Robert, Pete Simi, and Simon Gottschalk. 2006. “Understanding Music in Movements: the U.S.
          White Power Music Scene.” The Sociological Quarterly, 47:275-304.



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 Peer-Reviewed Journal Articles Cont.

 Simi, Pete and Robert Futrell. 2006. “Cyberculture and the Endurance of Radical Racist Activism.” The
         Journal of Political and Military Sociology, 34(1):115-142. (Reprinted in Peter Neumann’s edited
         volume Radicalisation, Forthcoming. Routledge).

 Futrell, Robert and Pete Simi. 2004. “Free Spaces, Collective Identity, and the Persistence of U.S. White
          Power Activism.” Social Problems, 51:16-42. (Reprinted in David Snow and Doug
          McAdam’s Social Movements: Readings on their Emergence, Mobilization, Dynamics, and
          Impact. 2010. 2nd edition. Oxford University Press).

 Book Chapters & Other Publications

 Scrivens, R., Windisch, S., & Simi, P. Forthcoming. “Former Extremists in Radicalization and Counter-
         Radicaliaztion.” In M. Deflem and D. Silva (Eds.), Sociology of Crime, Law, and Deviance - Vol.
         25: Radicalization and Counter-Radicalization (pp. 207-222) Bingley, UK: Emerald Publishing.

 Simi, Pete and Robert Futrell. Forthcoming. “Active Abeyance, Political Opportunity, and the ‘New’ White
         Supremacy.” In Mobilization. Edited by Hank Johnston.

 Futrell, Robert, Pete Simi, and Anna Tan. Forthcoming. “Political Extremism and Social Movements.”
          The Wiley Blackwell Companion to Social Movements edited by David Snow, Sarah Soule,
          Hanspeter Kriesi, and Holly McCammon. Wiley.

 Windisch, Steven, & Simi, Pete. 2017. “Trends in Neo-Nazi Music.” In S. Brown and O. Sefiha (Eds.),
        Routledge Handbook of Deviance (pp. 111-121). New York, NY: Taylor & Francis.

 Simi, Pete, & Windisch, Steven. 2017. “Barriers to Radicalization.” C-REX: Center for Research on
         Extremism Working Paper Series, No. 2, pp. 1-28. University of Oslo, Oslo, Norway.

 Futrell, Robert and Pete Simi. 2017. “The ‘Alt-Right’ ideas are not new but they are taking advantage of
          new opportunities.” Mobilizing Ideas Blog.

 Simi, Pete, Kathy Blee, Matthew DeMichele, and Steven Windisch*. 2017. White supremacy can be
         addictive, and leaving it behind can be like kicking a drug habit.” London School of Economics
         USCentre Blog. http://blogs.lse.ac.uk/usappblog/2017/10/10/white-supremacy-can-be-addictive-
         and-leaving-it-behind-can-be-like-kicking-a-drug-habit/

 Futrell, Robert and Pete Simi. 2017. “The Unsurprising Alt-Right.” Contexts.

 Simi, Pete and Bryan Bubolz. 2016. “Far Right Terrorism in the United States.” In Handbook of the
         Criminology of Terrorism edited by Gary LaFree and Joshua Freilich. Wiley Press.

 Simi, Pete, Kathleen Blee, and Matthew DeMichele. 2015. “Does Mental Health Influence Entry in
         Violent Extremism and Domestic Hate Groups?” Clinical Psychiatry News.




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                                  14271
 Simi, Pete, Karyn Sporer*, Bryan Bubolz, Hillary McNeel*, Steven Windisch*. 2015. “Trauma as
         Precursor to Violent Extremism.” START Research Brief.

 Simi, Pete. 2014. “Why They Join.” Intelligence Report, Southern Poverty Law Center.
 Book Chapters & Other Publications Cont.

 Simi, Pete. 2014. “Framing Invisibility: Why We Continue to Neglect the White Supremacist
         Movement.” Mobilizing Ideas.

 Simi, Pete. 2014. Review of Klansville, U.S.A.: the Rise and Fall of the Civil Rights- Era
         Ku Klux Klan. American Journal of Sociology.

 Simi, Pete. 2013. “Cycles of Right-Wing Terror in the United States.” Pp. 159-174 in Right-Wing
         Radicalism Today: Perspectives from the Europe and US. Routledge Press, NY. Eds., Sabine
         Von Mering and Timothy McCarty.

 Simi, Pete and Gina Ligon. 2013. “Should START Researchers Embrace the Brain?” National
         Consortium for the Study of Terrorism and Response to Terrorism Newsletter, March, 2013.

 Futrell, Robert and Pete Simi. 2012. “The Sound of Hate.” The New York Times, op ed, August 8, 2012.

 Simi, Pete and Robert Futrell. 2012. “Neo-Nazi Movements in Europe and United States.” Blackwell
         Encyclopedia of Social and Political Movements. Edited by David Snow, Donatella Della Porta,
         Bert Klandermans, and Doug McAdam.

 Simi, Pete, Andy Bringuel, Steven Chermak, Joshua Freilich, and Gary LaFree. 2010. “Defining Lone
         Wolf Terrorism: A Research Note.” In Terrorism, Research, and Analysis Protocol (TRAP): A
         Collection of Thoughts, Ideas, and Perspectives. Department of Justice, Federal Bureau of
         Investigation, Washington DC.

 Baisini, Claudia and Pete Simi. 2010. “Actors’ Analysis and Capacity of Knowledge.” In Terrorism,
          Research, and Analysis Protocol (TRAP): A Collection of Thoughts, Ideas, and Perspectives.”
          Department of Justice, Federal Bureau of Investigation, Washington DC.

 Simi, Pete. 2009. “Skinhead Street Violence.” In Hate Crime and Hate Offenders, edited by Barbara
         Perry and Randy Blazak. Greenwood Press: Westport, CT.

 Simi, Pete. 2008. “American Swastika.” University of Nebraska at Omaha. Alumni Magazine.

 Simi, Pete. 2008. “U.S. Racist Skinheads.” Pp. 196-201 in The Encyclopedia of Gangs, edited by Louis
         Kontos and David Brotherton. Greenwood Press: Westport, CT.

 Simi, Pete and Barbara Brents. 2008. “Extreme Responses to Globalization: the Case of Racist Skinhead
         Youth.” Pp. 185-202 in Cross-Cultural Perspectives on Youth, Marginalization and
         Empowerment, edited by Michael Flynn and David Brotherton. New York: Columbia University
         Press.

 Simi, Pete. 2006. “Hate Groups or Street Gangs?: the Emergence of Racist Skinheads.” Pp. 145-159 in
         Studying Youth Gangs, edited by James Short, Jr. and Lorine Hughes. Walnut Creek, CA:



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         AltaMira Press. (Reprinted in Cheryl Maxson, Jody Miller, Malcolm Klein, and Arlen Egley’s
         The Modern Gang Reader. 2013. 4th edition. Oxford University Press).

 Simi, Pete and Robert Futrell. 2006. “White Power Cyberculture: Building a Movement.” The Public
         Eye, Summer, v. xx: 1, 7-12.
 Book Chapters & Other Publications Cont.

 Bush, Evelyn and Pete Simi. 2001. “European Farmers and their Protests.” Pp. 97-121 in Contentious
        Europeans: Protest and Politics in an Emerging Polity, edited by Doug Imig and Sidney Tarrow.
        Lanham, MD: Rowman & Littlefield.

 Technical Reports

 Simi, Pete, Steven Windisch, and Karyn Sporer. “Recruitment and Radicalization among US Far Right
         Terrorists”. Final Report prepared for the Department of Homeland Science and Technology
         Directorate’s Office of University Programs, award number 2012-ST-061-CS0001, Center for the
         Study of Terrorism and Behavior (CSTAB) 2.1. College Park, MD: START, 2015.

 Ligon, Gina S., Mackenzie Harms, John Crowe, Leif Lundmark, and Pete Simi. “The Islamic State of Iraq
         and the Levant: Branding, Leadership Culture and Lethal Attraction,” Final Report prepared for
         the Department of Homeland Science and Technology Directorate’s Office of University
         Programs, award number #2012-ST-061-CS0001. College Park, MD: START, 2014.

 Ligon, G. S., Harms, M., Crowe, J., Braniff, W., Lundmark, L., and Simi, P., (2014). “Multi-Method
         Assessment of IS: Organizational Profile.” Report prepared for the Department of Homeland
         Science and Technology Directorate’s Office of University Programs, award number #2012-ST-
         061-CS0001. College Park, MD: START, 2014.

 Ligon, G.S., Derrick, D.C., Simi, P., Mahoney, W., & Harms, M. 2014. The Convergence of CyberSpace
         and CWMD. Technical Report, USSTRATCOM Task Order 31.

 Ligon, G.S., Derrick, D.C., Simi, P., Mahoney, W., & Harms, M. 2014. The Convergence of CyberSpace
         and CWMD. Technical Report, USSTRATCOM Task Order 30.

 Simi, Pete, and Dennis Hoffman. 2012. “Omaha Community Gang Assessment.” Submitted to Jim
         Suttle, City of Omaha Mayor’s Office.

 Simi, Pete. 2010. “Omaha Community Gang Assessment.” Submitted to Jim Suttle, City of Omaha
         Mayor’s Office.

 Simi, Pete. 2008. “Recruitment among Right-Wing Terrorist Groups.” National Institute of Justice.
         Final Report. (2006-IJ-CX-0027).

 Robinson, Hank and Pete Simi. 2008. “Combating Omaha Gun Crime.” Submitted to Mike Fahey, City
        of Omaha Mayor’s Office.

 Work In Progress

 Bubolz, Bryan and Pete Simi. “Frame Disputes and the Street Code: Perspectives on Stability and Change
         among Current and Former Gang Members.”


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 Windisch, Steven* and Pete Simi. “Priming Events and Readiness to Change: The Acceptance of
        Extremist Beliefs.”


                                         HONORS/AWARDS

 Simi, Pete. 2014a. Graduate Mentor of the Year Award, School of Criminology & Criminal Justice,
         University of Nebraska at Omaha.

 Harris, Daniel*, Pete Simi, and Gina Ligon. 2014b. Best Poster at the Annual Meeting for the National
         Consortium for the Study of Terrorism and Responses to Terrorism.

 Simi, Pete. 2012. Outstanding Researcher of the Year, School of Criminology & Criminal Justice,
         University of Nebraska at Omaha.

 Simi, Pete. 2010. Outstanding Teacher of the Year, College of Public Affairs and Community Service,
         University of Nebraska at Omaha.

 Simi, Pete. 2009. Outstanding Article of the Year, School of Criminology & Criminal Justice.
         University of Nebraska at Omaha.

 Simi, Pete. 2008a. Outstanding Teacher of the Year, School of Criminology & Criminal Justice.
         University of Nebraska at Omaha.

 Simi, Pete. 2008b. Nominated by School of Criminology & Criminal Justice for UNO Distinguished
         Research and Creative Activity Award.

 Simi, Pete. 2007. Graduate Student Mentor/Faculty Member of the Year Award. School of Criminology
         & Criminal Justice. University of Nebraska at Omaha.

 Simi, Pete. 2004. University of Nevada-Las Vegas Foundation Annual Dissertation Award.

                           GRANTS, CONTRACTS & FELLOWSHIPS
                                     Total: $2,493,551

 Simi, Pete. 2020. “Barriers to Family Suspicious Activity Reporting (SAR) of Mobilization Behaviors
         and Pre-Operational Planning.” Department of Homeland Security, $145,000.

 DeMichele, Matthew and Pete Simi (consultant). 2018. “Countering Violent Extremism: An Evaluation
       of Award Sites.” Department of Homeland Security, $60,000.

 Windisch, Steven* and Pete Simi. 2015. “Priming Events and Cognitive Shifts: The Process of Accepting
        Extremist Beliefs.” National Consortium for the Study of Terrorism and Responses to Terrorism,
        $5,000.00.

 Derrick, Doug, Gina Ligon, and Pete Simi. 2015. “Violent Extremist Organizations” Nebraska Research
         Initiative, $399,000.00




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 Sawyer, John Paul, Pete Simi and Gina Ligon. 2015-17. National Institute of Justice. “Empirical
        Assessment of Domestic Disengagement and Deradicalization (EAD3).” $620,545. 2014-ZABX-
        0003.


 GRANTS CONT.

 DeMichele, Matthew (PI), Kathy Blee (consultant), and Pete Simi (consultant). 2015-17. National
       Institute of Justice (working under the coordination of RTI International). “Research and
       Evaluation on Domestic Radicalization to Violent Extremism: Research to Support EXIT USA.”
       $700,801.

 Harris, Dan*, Pete Simi, and Gina Ligon. 2014. “Desisting from Hate: Cognitive and Emotional Markers
         of Former White Supremacists.” National Consortium for the Study of Terrorism and Responses
         to Terrorism, $5,000.

 Simi, Pete. 2013-15. “Recruitment and Radicalization among Far Right Terrorists.” National
        Consortium for the Study of Terrorism and Responses to Terrorism/Department of Homeland
        Security. $77,420.

 Ligon, Gina, Pete Simi, and Leif Lundmark. 2014. “Determinants of Violence.” START Consortium,
         Department of Homeland Security. $14, 347.

 Ligon, Gina, Douglas Derrick, Pete Simi and William Mahoney. 2014. “Convergence of Cyber
         Terrorism and WMD Proliferation: Phase II.” [USSTRATEGIC COMMAND, $100,000].

 Ligon, Gina, Douglas Derrick, Pete Simi and William Mahoney. 2013-2014. “Convergence of Cyber
         Terrorism and WMD Proliferation: Phase I.” [USSTRATEGIC COMMAND, $100,000].

 Simi, Pete. 2012-2014. “Desistance from Violent Right-Wing Extremism.” Harry Frank Guggenheim
         Foundation. $62,019.

 Simi, Pete. 2011. Sherwood Foundation & Omaha Community Foundation. “Omaha Gang Assessment.”
         $21,000.

 Simi, Pete. 2010. University of Nebraska at Omaha. “Recruitment and Radicalization among Right-
         Wing Terrorists.” Summer Fellowship. $4,500.

 Simi, Pete. 2009. University of Nebraska at Omaha. “Delinquency and Health.” Summer Fellowship.
         $4,500.

 Simi, Pete. 2006. National Institute of Justice. “The Structure and Operation of Right-Wing Extremist
         Groups.” $144, 140.00 (2006-IJ-CX-0027).

 Simi, Pete and Hank Robinson. 2006. Department of Justice, Project Safe Neighborhoods. “Evaluation of
         Federal Gang Prosecution Unit.” $5,000.

 Simi, Pete. 2006. University of Nebraska at Omaha. “Threat Models of Extremist Group Violence.”
         Summer Fellowship. $6,000.




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 Simi, Pete. 2006. Travel-In-Aid Grant, University of Nebraska at Omaha: Office of Sponsored
         Programs. $768.

 Simi, Pete. 2004. University of Nebraska at Omaha. “Skinheads Gangs and Racist Violence.”
         Committee on Research Summer Fellowship. $4,500.
 GRANTS CONT.

 Simi, Pete and Barbara Brents. 2002. National Science Foundation. “Adult Consequences of
         Participation in Youth Subculture.” Dissertation Improvement Grant. $7,500.

 Simi, Pete. 2002. GREAT Research Award (Graduate Research Training Assistantship). University
         of Nevada-Las Vegas. $4,500.

 Simi, Pete. 2002. Summer Research Grant. University of Nevada-Las Vegas. $2,000.

 Simi, Pete. 2002. Barrick Fellowship. University of Nevada-Las Vegas. $15,000.

 Simi, Pete and Barbara Brents. 2001. S.I.T.E. Grant Recipient (Stimulation, Implementation, Transition,
         and Enhancement). “Life-long Commitment or Youthful Rebellion: the Biographical Outcomes
         of Participation in the Racist Skinhead Subculture.” University of Nevada-Las Vegas. $4,990.

                                EXPERT LEGAL CONSULTATION

 United States v. Sellers et al. (appointed by court as group expert in federal RICO case involving an
         alleged white supremacist prison gang) – case completed 6/09.
 Attorney references available upon request.

 State of Florida v. John A. Ditullio (provided legal consultation for defense attorney representing an
          alleged member of a neo-Nazi group in a capital murder case) – case completed 12/10.
 Attorney references available upon request.

 United States v. Christopher Cramer (provided legal consultation for defense attorney representing an
         alleged member of a white supremacist prison gang in an attempted murder case) – case
         completed 7/11.
 Attorney references available upon request.

 United States v. James Robertson (served as confidential expert witness in a federal RICO involving an
         alleged member of a white supremacist group) – case completed 10/11.
 Attorney references available upon request.

 United States v. David Stone et al. (retained by Federal Defender Office, Eastern District of
         Michigan in Hutaree Militia case) – case completed 3/12.
 Attorney references available upon request.

 Maryland v. Joseph Walker (provided expert witness consultation regarding American far right
        extremism) – case completed 5/14.
 Attorney references available upon request.

 United States v. Daniel Lee (retained by Office of the Federal Public Defender, District of Maryland) –
         consultation completed 10/14; 11/16.


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 Attorney references available upon request.

 State of Arizona v. Steve Alan Boggs (retained by Federal Public Defender’s Office, District of Arizona) –
          consultation completed 1/17.
 Attorney references available upon request.
 EXPERT LEGAL CONSULTATION CONT.

 State of Arizona v. Patrick Bearup (retained by Federal Public Defender’s Office, District of Arizona) –
          consultation completed 8/17.
 Attorney references available upon request.

 State of Oregon v. Bruce Turnidge (retained by Public Defense Services Commission, Oregon) –
          consultation completed 12/27/18.
 Attorney references available upon request.

 State of Texas v. John Rivello (retained by the Dallas County District Attorney’s Office) – consultation
          completed 12/15/19.
 Attorney references available upon request.

 State of Oregon v. Jeremy Christian (retained by the Multnomah County District Attorney’s Office)
          consultation and testimony completed 2/13/20.1
 Attorney references available upon request.

 INVITED PRESENTATIONS & PROFESSIONAL TRAINING SEMINARS

 Simi, Pete. “The Rise & Cause of Hate Crimes in America.” Presented at the Inn of Court. Memphis, TN.
         January, 2020.

 Simi, Pete. “The Culture of Hate.” Presented at Chapman University, Fowler School of Law. Orange, CA.
         October, 2019.

 Simi, Pete. “The Culture of Hate.” Presented at the Missouri Department of Corrections Annual Meeting.
         Lake of Ozarks, MO. September, 2019.

 Simi, Pete. “The Resurgence of Hate Groups.” Presented at the Amherst Public Library. Amherst, MA.
         September, 2019.

 Simi, Pete. “Trends in Right-Wing Extremism.” Presented at the Association of Threat Assessment
         Professionals. Anaheim, CA. August, 2019.

 Simi, Pete. “The Social Psychology of Hate.” Presented at Chapman University, Board of Trustees.
         Orange, CA. June, 2019.

 Simi, Pete. “The Contemporary Relevance of Bias Crime & Hate Groups.” Presented at Orange High
         School. Orange, CA. January, 2019.




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   I testified at trial in this matter on February 13, 2020. This is the only testimony I’ve provided as an expert witness
 in the previous 4 years,


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 Simi, Pete. “The Contemporary Relevance of Bias Crime & Hate Groups.” Presented at Huntington
         Beach High School. Huntington Beach, CA. January, 2019.

 Simi, Pete. “From the Shadows to the Mainstream: Hate Groups in America.” Presented at the Temple
         Ada Shalom Synagogue. San Diego, CA. January, 2019.

 Simi, Pete. “Right-Wing Terrorism.” Presented at The National Counterrorism Center (NCTC) annual
         meeting. Washington DC. November, 2018.

 INVITED PRESENTATIONS CONT.

 Simi, Pete and Jonathan Greenblatt. “The Rising Tide of Hate.” Presented at the Aspen Institute. Aspen,
         CO. July, 2018.

 Simi, Pete. “US Right-Wing Terrorism.” Presented at the Naval Postgraduate School, Monterey, CA.
         July, 2018.

 Simi, Pete. “Hidden Spaces of Hate.” Presented at Elgin Community Center. Elgin, Il. July, 2018.

 Simi, Pete. “Hidden Spaces of Hate.” Presented at Loyola University, School of Law. Chicago, Il. July,
         2018.

 Futrell, Robert and Pete Simi. “Active Abeyance and ‘New’ White Supremacist Mobilization.” Plenary
          panel at the 2nd Annual Mobilization Conference. San Diego, CA. May, 2018.

 Simi, Pete.2018. “A Risk Factor Approach to Understand Violent Extremism.” Presented at Law &
         Psychiatry Symposium of Lone Actor Violence, University of Cincinnati. Cincinnati, OH. April,
         2018.

 Windisch, Steven, Simi, Pete, Blee, Kathy & DeMichele, Matthew. “Understanding White Supremacist
        Violence in the United States.” Presented at the Center for Research on Extremism (C-REX)
        Workshop. University of Oslo, Oslo, Norway. March, 2018.

 Simi, Pete. “A Risk Factor Approach to Violent Extremism.” Presented at the University of California-
         Riverside, Department of Sociology. January, 2018.

 Simi, Pete. “A Risk Factor Approach to Violent Extremism.” Presented at the Global Securities
         Conference, University of Central Florida, Orlando, FL. December, 2017.

 Simi, Pete. “The Neurological Consequences of Hate.” Presented at the Southern Poverty Law Center,
         Montgomery, AL. November, 2017.

 Simi, Pete. “Risk Factor Model for Entry into Violent Extremism.” Presented at the Northern Norway
         Violence and Traumatic Stress Resource Centre, University Hospital of Northern Norway,
         Tromso, Norway. October, 2017.

 Simi, Pete. “Addicted to Hate: Identity Residual among Former White Supremacists.” Presented at Simon
         and Fraser University, Vancouver, BC. September, 2017.

 Simi, Pete. “Hidden Spaces of Hate.” Presented at the Mill Valley Public Library, Mill Valley, CA.
         September, 2017.


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                                   14278

 Danielle Platt, Pete Simi, Cyril Rakovski, and Hesham El-Askary. “Exploring the Complex Relationship
         between Climate Change and Terrorism." Presented at the Strategic Multilayer Assessment,
         Pentagon, Washington DC. June, 2017.

 Simi, Pete. “Psychology of Terrorism.” Presented to the US Strategic Command (STRATCOM), March
         20-21st, 2017.


 INVITED PRESENTATIONS CONT.

 Simi, Pete. “Hidden Spaces of Hate: Studying Far Right Extremism.” Presented at the University of
         Southern California, Los Angeles, CA. March, 2017.

 Simi, Pete. “Lessons from the Field: Studying Far Right Extremism.” Presented at Northwestern
         University, Evanston, IL. February, 2017.

 DeMichele, Matthew, Pete Simi, Kathleen Blee, Christine Brugh, and Steven Windisch. “How Domestic
       Extremists Leave Racist Groups in the US.” Presented at the National Institute of Justice meeting,
       Washington DC. December, 2016.

 Simi, Pete and Steven Windisch. 2016. “Recruitment and Radicalization among Far-Right Terrorists.”
         Presented at the National Consortium for the Study of Terrorism and Responses to Terrorism
         Annual Conference, October 6, 2016.

 Derrick, Doug, Gina Ligon, and Pete Simi. “Radicalization and Violent Extremism.” Professional
         Training at the Oklahoma Fusion Center, Oklahoma City, OK. September 19, 2016.

 Simi, Pete. “From the Left to the Right: Comparing Disengagement Across the Ideological Spectrum.”
         Presented at Teesside University, UK. July, 2016.

 Simi, Pete. “Understanding Organized Hate, Violence, and Political Extremism in the 21th Century.”
         Presented at the University of Nevada, Las Vegas, NV. April 2016.

 Simi, Pete. “The Neuroscience of Hate: the Making of Extremist Groups.” Presented at the American Bar
         Association, Criminal Justice Section. Albuquerque, NM. April 2016.

 Simi, Pete. “Violent Extremism: A Prism Approach.” Presented at Virginia Commonwealth University,
         Richmond, VA. April 2016.

 Simi, Pete and Barbara Robinson. “Understanding Street Gangs.” School-based Health Centers
         Continuing Education Training, Omaha, NE. April 2016.

 Simi, Pete. “Childhood Trauma and Adolescent Misconduct as Precursors to Violent Extremism.”
         Presented at the START Annual Conference, Washington DC. October 2015.

 Simi, Pete and Barbara Robinson. “A Public Health Approach to Street Gangs.” Presented at Children’s
         Methodist Hospital, Omaha, NE. September 2015.




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Case 3:17-cv-00072-NKM-JCH Document 871-2 Filed 09/11/20 Page 14 of 24 Pageid#:
                                   14279
 Simi, Pete. “Contested Terrain: Identity Conflicts among US White Supremacists.” Presented at the
         European Studies Research Council, American University, Washington DC. March 2015.

 Simi, Pete. “Why Do They Hate?” Presented at Westside High School, Omaha, NE. February 2015.

 Simi, Pete. “American Swastika.” Alpha Kappa Delta Symposium on Qualitative Research, Omaha, NE.
         October, 2014.

 Simi, Pete. “Why Do They Hate?” Presented at Westside High School, Omaha, NE. February 2014.

 INVITED PRESENTATIONS CONT.

 Simi, Pete. “Recruitment and Radicalization among US Far-Right Terrorists.” Strategic Multilayer
         Assessment Speaker Series. Pentagon. September 2014.

 Simi, Pete. “American Extremism.” Presented at Westside High School, Omaha, NE. September 2014.

 Simi, Pete. “Spaces of Hate: the Contemporary US Neo-Nazi Movement.” Presented at the University of
         Texas-San Antonio, Alpha Phi Sigma Annual Lecture. November 14, 2013.

 Simi, Pete. “Extremism in America.” Presented at the National Bar Association. Miami, Fl. July 30, 2013.

 Simi, Pete. “The Culture and Psychology of the White Power Movement.” Presented at the Anti-
         Defamation League’s Counterterrorism Training and Conference. San Diego, CA. January 24,
         2012.

 Simi, Pete. “American Swastika.” Presented at the 4th Annual National Consortium on Racial and Ethnic
         Fairness in the Courts.” Omaha, NE. May 11, 2012.

 Simi, Pete. “The Culture of Radical Talk: An Interpretive Approach.” Presented at New York University
         in Berlin, Germany. May 4-5, 2012.

 Simi, Pete. “Skinheads and the Neo-Nazi Movement.” Training provided at the Omaha Public School
         District’s Annual Safety Training Program. May 2, 2011.

 Simi, Pete. “American Swastika.” Presented at the Omaha Press Club Meeting. April 26, 2011.

 Simi, Pete. “Self-Change in Relation to Studying the Far Right.” Presented at the University of
         Duesseldorf. Duesseldorf, Germany, March 24, 2011.

 Simi, Pete. “American Swastika.” Presented at the QUAD Community Meeting, Omaha NE. December
         12, 2010.

 Simi, Pete. “Skinheads and the Neo-Nazi Movement.” Training provided at the US Department of
         Justice, Hate Crime and Bias Awareness – What is a Hate Crime?. Omaha, NE. July 6, 2010.

 Simi, Pete. “Aryan Criminal Gangs.” Presented at the Metro Police Chiefs Association. June 26, 2010.

 Simi, Pete. “Cycles of Right-Wing Terror.” Presented at Brandeis University. April 28, 2010.



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Case 3:17-cv-00072-NKM-JCH Document 871-2 Filed 09/11/20 Page 15 of 24 Pageid#:
                                   14280
 Simi, Pete. “American Swastika.” Presented at the University of Nebraska, Lincoln. March, 2010.

 Simi, Pete. “American Swastika.” Presented at the Council Bluffs Public Library. February, 2010.

 Simi, Pete. “Inside the White Power Movement’s Hidden Spaces of Hate.” Presented at the Omaha
         Public Library, January, 2010.

 Simi, Pete. “American Swastika.” Presented at the University of Wyoming. Laramie, WY. September,
         2009.

 INVITED PRESENTATIONS CONT.

 Simi, Pete. “Lone Wolf Terrorism.” Presented at the Federal Bureau of Investigation, Terrorism
         Research Analysis Project (TRAP). Dumfries, VA. August, 2009.

 Simi, Pete. “The Contemporary Neo-Nazi Movement.” Training provided at the Ontario Provincial
         Police’s Annual Hate Crime/Extremism Conference, Niagara Falls, Ontario. January, 2009.

 Simi, Pete. “White Supremacist Recruitment Strategies.” Presented at the Department of Public Safety,
         State of Iowa. Des Moines, IA. January 2009.

 Simi, Pete. “White Supremacist Radicalization.” Presented at the National Institute of Justice
         Conference. Washington DC. July 2008.

 Simi, Pete. “Right-Wing Extremist Recruitment.” Presented at the National Institute of Justice
         Conference. Washington DC. July 2007a.

 Simi, Pete. “Race Warriors.” Presented at the National Academy of the Federal Bureau of Investigation.
         Quantico, VA. February 2007b.

 Simi, Pete. “Hate Groups in America.” Presented at the West Omaha Rotary Club. Omaha, NE.
         February 2007c.

 Simi, Pete. “Hate Groups in America.” Presented at the Kiwanis Club. Omaha, NE. October, 2006a.

 Simi, Pete. “Gangs in America.” Presented at the University of Nebraska School Psychologists
         Workgroup. Omaha, NE. April 2006b.

 Simi, Pete. “Free Spaces, Collective Identity, and the Contemporary White Power Movement.” Presented
         at the University of Memphis, Department of Political Science. Memphis, TN. November 2004.

 Simi, Pete. “Resistance in the Land of ‘ZOG’: the Contemporary White Supremacist Movement.”
         Presented at the University of Nebraska at Kearney, Department of Sociology and Criminal
         Justice. Kearney, NE. November 2003.

 Bush, Evelyn and Pete Simi. “Harvesting Contention: European Integration, Supranational Institutions,
        and Farmers’ Protests, 1992-1997.” Presented at the Transnational Networks and European
        Contention: A Roundtable and Workshop, hosted by the Institute for European Studies, Cornell
        University. February 1999.




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Case 3:17-cv-00072-NKM-JCH Document 871-2 Filed 09/11/20 Page 16 of 24 Pageid#:
                                   14281
 Bush, Evelyn and Pete Simi. “Farmers' Protests and Agricultural Policy.” Presented at the Center for
        International Affairs, Harvard University. January 1998.

                   PAPERS PRESENTED AT PROFESSIONAL MEETINGS

 Windisch, S., Simi, P., Blee, K., & DeMichele, M. 2019. “More than Walking Away: Unraveling
        Disengagement, Desistance, and Deradicalization among Former U.S. White Supremacists.”
        Presented at the American Society of Criminology conference. San Francisco, CA.



 PAPERS PRESENTED AT PROFESSIONAL MEETINGS CONT.

 Windisch, S., Simi, P., Blee, K., & DeMichele, M. 2018. “From Swaddling to Swastikas: A Life-Course
        Investigation of White Supremacist Extremism.” Presented at the American Society of
        Criminology conference. Atlanta, GA.

 Molfese, P., Nielson, D., Molfese, D., Bandettini, P., Windisch, S., Derrick, D., Ligon, G., & Simi, P.
        2018. “Simultaneous EEG-fMRI Reveal Temporal-Spatial Bias Patterns in Former White
        Supremacists.” Poster presented at the annual meeting of the Organization for Human Brain
        Mapping, Singapore.

 Windisch, S., Ligon, G. S., & Simi, P. 2017. “Organizational [Dis]trust: Comparing Disengagement
        among Former Left-Wing and Right-Wing Violent Extremists.” Presented at the American
        Society of Criminology conference. Philadelphia, PA.

 Blee, Kathy, Matthew DeMichele, Pete Simi, and Mehr Latif. 2017. “Political Disillusionment & Exit: A
         Study of Female Former White Supremacists.” Presented at the American Sociological
         Association, Montreal, Canada.

 Windisch, Steven, Pete Simi, and Michael Logan, M. 2016. “Social Networks and Recruitment Pathways
        into Violent Extremism.” Presented at the American Society of Criminology meeting, New
        Orleans, LA.

 Logan, Michael, Pete Simi, and Steven Windisch. 2016. “Setting the Stage for Hate: Racist Socialization
        in the Family Prior to Entering Violent Extremism.” Presented at the American Society of
        Criminology meeting, New Orleans, LA.

 Jensen, Michael, Pete Simi, Gina Ligon, and Steven Windisch. "Empirical Assessment of Domestic
         Disengagement and Deradicalization (EAD3)." Presented at the American Society of
         Criminology meeting, New Orleans, LA. November, 2016.

 DeMichele, Matthew, Pete Simi and Kathleen Blee. "Uncovering the motivations, barriers and pathways
       to becoming a former extremist: Mapping the structural, agentic and organizational dynamics in
       identity transformation." Presented at the American Society of Criminology meeting, New
       Orleans, LA. November, 2016.

 Simi, Pete, Kathy Blee, and Matthew DeMichele. “Addicted to Hate?: Role Residual among Former
         White Supremacists.” Presented at the American Sociological Association meeting, Seattle, WA.
         August, 2016.




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Case 3:17-cv-00072-NKM-JCH Document 871-2 Filed 09/11/20 Page 17 of 24 Pageid#:
                                   14282
 Windisch, Steven and Pete Simi. “Priming Events and Readiness to Change: The Acceptance of Extremist
        Beliefs.” Presented at the American Society of Criminology meeting, Washington, D.C.
        November, 2015.

 McNeel, H., Pete Simi, & Steven Windisch. “Leaving Extremism: A Systematic Assessment of the
       Literature.” Presented at the American Society of Criminology Conference, Washington, D. C.
       November 2015.

 Simi, Pete. “Scarred for Life: Hangover Identity among US White Supremacists.” Presented at the
         Society for the Study of Symbolic Interaction meeting, Chicago, IL, August 2015.

 PAPERS PRESENTED AT PROFESSIONAL MEETINGS CONT.

 Simi, Pete. “Reconsidering the Role of Mental Health as it Relates to Violent Extremism.” Presented at
         the Pacific Sociological Association meeting, Portland, OR, March 2014.

 Simi, Pete. “A Life Course Criminology Approach to the Desistance from Violent Right Wing
         Extremism.” Presented at the American Society of Criminology meeting, Atlanta. November
         2013.

 Simi, Pete. “Will the Real Aryans Please Stand Up?: Identity Clashes among White Power Activists.”
         Presented at the Society for the Study of Symbolic Interaction annual meeting, NY. August 9,
         2013.

 Simi, Pete and Bryan Bubolz. “Comparing Desistance among Violent Groups.” Presented at the
         American Society of Criminology meeting, Chicago, IL. November, 2012.

 Simi, Pete and Robert Futrell. “Aryan Parenting as Political Protest.” Presented at the Society for the
         Study of Symbolic Interaction meeting, Las Vegas, NV. August, 2011.

 Anderson, Amy Pete Simi, and Mary Evans*. “Napoleon Complex: Fact or Fiction?” Presented at the
        American Society of Criminology meeting, San Francisco, CA. November, 2010

 Bubolz, Bryan* and Pete Simi. “The Organizational and Spatial Characteristics of Gang Violence.”
         Presented at the American Society of Criminology meeting, San Francisco, CA. November, 2010

 Simi, Pete and Robert Futrell. “Hate Parties.” Presented at the Society for the Study of Symbolic
         Interaction meeting, San Francisco, CA. August, 2009.

 Simi, Pete and Robert Futrell. “Aryan Family Socialization.” Presented at the Pacific Sociological
         Association meeting, San Diego, CA. April, 2009.

 Simi, Pete and Robert Futrell. “Racial Kinship and White Power Activism.” Presented at the Pacific
         Sociological Association meeting, Portland, OR. April 2008.

 Simi, Pete and Robert Futrell. “Negotiating White Power Activist Stigma.” Presented at the Collective
         Behavior and Social Movements Section Workshop, Long Island, NY, August 2007a.

 Simi, Pete. “Reclaiming SI’s Criminological Tradition.” Presented at the Couch/Stone Symposium,
         Urbana, IL, May. 2007b.


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                                   14283

 Simi, Pete and Robert Futrell. “Cyberforums as ‘Cybertherapy’ in the White Power Movement.”
         Presented at the Midwest Sociological Society meeting, Chicago, IL. April, 2007c.

 Batton, Candice and Pete Simi. “Violent Death in the Midwest: Kansas City, Omaha, and St. Louis, 1945-
         2004.” Presented at the American Society of Criminology meeting, Los Angeles, CA.
         November, 2006a.

 Simi, Pete and Robert Futrell. “Stigma, Impression Management, and White Power Activism” Presented
         at the Society for the Study of Symbolic Interaction meeting, Montreal, Canada. August 2006b.

 PAPERS PRESENTED AT PROFESSIONAL MEETINGS CONT.

 Simi, Pete and Candice Batton. “Violence Death in the Midwest: Kansas City, Omaha, and St. Louis,
         1990-2000.” Presented at the Homicide Research Working Group meeting, Richmond, VA.
         2006c.

 Simi, Pete and Robert Futrell. “Understanding Music in Movements: the U.S. White Power Music
         Scene.” Presented at the Society for the Study of Symbolic Interaction meeting, Philadelphia, PA.
         August 2005a.

 Simi, Pete and Robert Futrell. “White Power Cyberculture.” Presented at the American Sociological
         Association meeting, Philadelphia, PA. August 2005b.

 Simi, Pete and Brett Garland. “Civil Litigation and a Theory of White Supremacist Violence.” Presented
         at the American Society of Criminology meeting, Nashville, TN. November, 2004a.

 Simi, Pete, Barbara Brents, and Robert Futrell. “Turning Points and the Politicization of Gangs: the Case
         of Southern California Racist Skinheads.” Presented at the American Sociological Association
         meeting, San Francisco, CA. August 2004b.

 Futrell, Robert and Pete Simi. “Music Scene and Collective Identity in the U.S. White Power Movement.”
          Presented at the Midwest Sociological Society meeting, Kansas City, MO. April 2004c.

 Simi, Pete and Lowell Smith. “Public Enemy Number One: A Gang Profile.” Presented at the Academy
         of Criminal Justice Sciences meeting, Las Vegas, NV. March 2004d.

 Simi, Pete. “From Stylistic Innovators to Social Gangs: The Early Development of the Skinhead
         Subculture.” Presented at the American Society of Criminology meeting, Denver, CO.
         November 2003.

                                         COURSES TAUGHT

 Undergraduate:

 Introduction to Sociology
 Introduction to Criminal Justice
 Sociology of Alternative Lifestyles
 Theories of Deviance
 Sociological Theory


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                                   14284
 Juvenile Delinquency and Justice
 Criminology
 Adult and Youth Gangs
 Hate Crime and Hate Groups
 International & Domestic Terrorism
 Violence (online)
 Victimless Crimes
 Crime, Justice, & Globalization
 Field Methods
 Senior Thesis Seminar
 Graduate:

 Theoretical Criminology
 Juvenile Justice (online)
 Adult and Youth Gangs
 Qualitative Methods
 Qualitative Methods II
 Violent Crime
 Psychology of Terrorism

                                             SERVICE

 Service to the University

 Restarting Research Taskforce, Chapman University, 2020-.

 Search Committee Chair, Department of Sociology, Chapman University, 2020-.

 Co-Chair, Institutional Review Board. Chapman University, 2017-present.

 Curriculum Committee Chair, Department of Sociology, Chapman University, 2017-2018.

 Leadership Committee, Disney Initiative (member). Chapman University, 2018-2019.

 Search Committee, Department of Sociology, Chapman University, 2017-.

 Doctoral Comprehensive Exam Committee, Chair (theory), 2015-2016.

 Graduate Policy and Planning Committee (chair), 2012-2014.

 Search Committee (member), 2011.

 Graduate Program Proseminar Coordinator, 2010-2011.

 Consortium for Crime and Justice Research Committee (Chair), 2010-2011.

 Graduate Admission Committee (member), 2010-2012.

 Search Committee (member), 2010.



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                                   14285

 Strategic Planning Committee (member), 2009.

 SCCJ Brown Bag Coordinator, 2009-2010.

 Graduate Admission Committee (member), 2008-2009.

 University Graduate Council (member), 2006-2008.

 Executive Committee (member), 2005-2008.

 Service to the University Cont.

 Search Committee (member), 2007.

 Search Committee (member), 2006.

 Graduate Policy and Planning Subcommittee (member), 2005-2008.

 Juvenile Delinquency Comprehensive Exam Committee, 2003-2005.

 Graduate Student Dissertation and Thesis Committees

 Ph.D. Dissertation Committee Chair (Steven Windisch), 2015-. (accepted position at Temple University).

 STRACOM Fellow Capstone Mentor (Mark Crown), 2015-. (currently employed at STRATCOM).

 Ph.D. Dissertation Committee Chair (Karyn Sporer), 2013-. (accepted position at University of Maine)

 Ph.D. Doctoral Advisor (Hillary McNeel), 2014-2016.

 Ph.D. Doctoral Advisor (Steven Windisch), 2014-2018. (accepted position at Temple University)

 Ph.D. Dissertation Committee Member (Trisha Rhodes), 2014-2015. (accepted position at Virginia
        Commonwealth University).

 STRACOM Fellow Capstone Mentor (Susie Doyle), 2014-. (currently employed at STRATCOM).

 Ph.D. Dissertation Committee Chair (Bryan Bubolz), 2012-2014. (accepted position at Southern Illinois
        University).

 M.A. Thesis Committee Member (Elizabeth Sykes), 2013-2014. (accepted position at the Department of
        Labor).

 Ph.D. Dissertation Committee Chair (Connie Koski), 2009-2013. (accepted position at Longwood
        University).

 Ph.D. Dissertation Committee Member (Tusty Zohra), 2010-2012. (accepted position at the University of
        Arkansas-Little Rock).



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                                   14286
 Ph.D. Dissertation Committee Chair (Travis Morris), 2009-2011. (accepted position at Norwich
        University).

 Ph.D. Dissertation Committee Chair (Ann Stacey), 2007-2011. (accepted position at Las Vegas
        Metropolitan Police Department).

 Ph.D. Dissertation Committee Chair (Scott Chenault), 2009-2010. (accepted position at Central Missouri
        University).

 Ph.D. Dissertation Committee Member (Jim Geistman), 2007-2009. (accepted position at Northern Ohio
        University).
 Graduate Student Dissertation and Thesis Committees Cont.

 Ph.D. Dissertation Committee Chair (Blythe Bowman), 2007-2008. (accepted position at Virginia
        Commonwealth University).

 Ph.D. Dissertation Committee Chair (Katherine Tellis), 2007-2008. (accepted Position at CSU-Los
        Angeles).

 Ph.D. Dissertation Committee Member (William McCarty), 2007-2008. (accepted position at University
        of Illinois-Chicago).

 Ph.D. Dissertation Committee Member (Sue Godbolt), 2006-2007. (accepted position at Mercyhurst
        College).

 Ph.D. Dissertation Committee Member (Sean Madden), 2005-. (accepted position at University of
        Tampa).

 MA Thesis Committee Chair (Shannon Crowley), 2009-2010. (accepted position at the Alaska
       Department of Corrections).

 MA Thesis Committee Member (Griselda Aldrete), 2004-.

 Service to Profession

 Theme Lead, University of Nebraska, Omaha, Center of Excellence, Department of Homeland
 Security, 2020-.

 Editorial Board
 Open Journal of Social Science Research (peer-reviewed journal), 2013-.
 Dynamics of Asymmetric Conflict (peer-reviewed journal), 2017-.

 Grant Reviewer
 National Science Foundation
 National Institute of Justice
 Harry Frank Guggenheim Foundation
 John Simon Guggenheim Foundation




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                                   14287
 Participation in Professional Organizations & Memberships

 Program Committee – Pacific Sociological Association meeting, Eugene, OR. March 2020.

 Committee on Academic Freedom – Pacific Sociological Association, 2019-present.

 Executive Council Member – American Society of Criminology, Division on Terrorism and Bias Crime.
         November, 2018-2020.

 Program Committee – American Sociological Association meeting, Montreal. August 2017.

 Program Committee – American Society of Criminology meeting, Washington DC. November 2015.
 Participation in Professional Organizations & Memberships Cont.

 Section Chair – “Causes of Substance Abuse” at the American Society of Criminology meeting, St.
         Louis, MO. November 2008.

 Herbert Blumer Graduate Student paper Award Committee (Chair) – Society for the Study of Symbolic
         Interaction, 2007.

 Roundtable Discussant – “Social Movement & Ideological Contests” at the American Sociological
        Association meeting, NY. August 2007.

 Session Organizer - “Stigma and Negotiating Identity” at the Society for the Study of Symbolic
         Interaction meeting, Montreal, Canada. August 2006.

 Session Organizer - “From Subculture to the Scene: A New Direction in Cultural Studies?” at the Society
         for the Study of Symbolic Interaction meeting, Philadelphia, PA. August 2005.

 American Sociological Association
        Section Memberships:
                Crime, Law, and Deviance
                Collective Behavior and Social Movements

 American Society of Criminology

 Society for the Study of Symbolic Interaction

 Editorial Reviews
 American Sociological Review.
 American Journal of Sociology.
 Criminology.
 Critical Criminology.
 Race and Justice: An International Journal.
 Symbolic Interaction.
 Sociological Perspectives.
 Social Problems.
 Journal of Contemporary Ethnography.
 Sociological Focus.
 Journal of Political and Military Sociology.


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                                   14288
 Deviant Behavior.
 The Sociological Quarterly.
 Justice Quarterly.
 Social Movements, Conflict, and Change.
 Criminal Justice Review.
 New Media & Society.
 Homicide Studies: An Interdisciplinary & International Journal.
 Mobilization.
 Social Psychology Quarterly.

 Service to Community

 Orange County Human Relations Commission, volunteer consultant. 2017-.

 Board of Directors (Member), EXIT USA/Life After Hate. 2017-.

 US STRATCOM Leadership Fellow Program Faculty Mentor and Instructor. 2015-2017.

 Department of Justice. Invited Member of the Countering Violent Extremism Leadership Forum.
        2014-.

 US STRATCOM Leadership Fellow Program Faculty Mentor and Instructor. 2014-2015.

 Advisory Board Member, EXIT USA/Life After Hate. 2014-2017.

 Academic Advisory Board Member, Southern Poverty Law Center, Intelligence Project. 2013-.

 Center for the Study of Hate and Extremism, Advisory Board Member, California State University-San
         Bernardino, 2012-.

 Federal Bureau of Investigation, Terrorism, Research, and Analysis Program (TRAP), Invited Member,
         2009-2013.

 Project Safe Neighborhoods, Nebraska District (evaluator), 2007-2011.

 Consultant for the Federal Bureau of Investigation regarding hate group activity, 2005-2006.

 Omaha Empowerment Network (member), 2011-2012.

 Omaha Hate Crimes Coordinating Council (member), 2004-2009.

 Board of Trustees (President), Youth Care Inc., Omaha, NE. Youth Care Inc. is a private non-profit
        agency that provides residential services to adolescents diagnosed with developmental
        disabilities and mental illness. 2004-2016.

 Volunteer teacher aid (Special Education), Paddock Road Elementary School, Omaha, NE. 2004-2006.

 Volunteer research consultant for the Simon Wiesenthal Center. 2001-2003.




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                                   14289
                   PUBLIC EDUCATION & MEDIA INTERVIEWS

 Television and radio interviews include some of the following:
 Larry King Now; CBS Good Morning America; Al Jazeera; CNN’s AC360; CNN’s Erin Burnett;
 MSNBC’s Hardball; PBS News Hour; Democracy Now; History Channel’s Gangland; National
 Geographic Channel; National Public Radio’s All Things Considered; History Channel’s America’s
 Book of Secrets; British Broadcasting Company (BBC); MSNBC’s Ali Velshi Show; NPR’s Here and Now



 Newspaper Interviews include some of the following:
 Rolling Stone; Chicago Tribune; Boston Globe; US News; New Yorker; Dallas Observer; Le Monde;
 New York Times; Wall St. Journal; Huffington Post; New York Daily News; Los Angeles Times;
 Associated Press; Reuters; Las Vegas Review Journal; Christian Science Monitor; National Public
 Radio; NBC News; Playboy; Mother Jones; Esquire; VICE; New Scientist; Orange County Register; San
 Francisco Chronicle; Newsweek; The Hill; Think Progress; San Diego Union-Tribune; Daily Beast;
 Washington Post; Milwaukee Journal-Sentinel; Business Insider; The Intercept




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